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 1   MILLER NASH LLP
     Bernie Kornberg
 2   bernie.kornberg@millernash.com
     Jack Wallan
 3   jack.wallan@millernash.com
     340 Golden Shore, Suite 450
 4   Long Beach, California 90802
     Telephone:    562.435.8002
 5   Facsimile:    562.435.7967

 6   Attorneys for Interested Party
     Rooster Capital IV, LLC, a Delaware Limited Liability
 7   Company

 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                           FRESNO DIVISION
11

12
     FEDERAL AGRICULTURAL MORTGAGE                        Case No. 1:24-cv-01455-KES-SAB
13   CORPORATION,
                                                          DECLARATION OF MARK A. SMITH
14                     Plaintiff,                         IN SUPPORT OF ROOSTER CAPITAL
                                                          IV LLC’S OMNIBUS OPPOSITION TO
15          v.                                            RECEIVER LANCE MILLER’S
                                                          MOTIONS TO BE HEARD ON
16   ASSEMI BROTHERS, LLC et al.,                         MARCH 10, 2025

17                     Defendants.                        Date:     March 10, 2025
                                                          Time:     1:30 p.m.
18                                                        Ctrm:     6
                                                          Judge:    Hon. Kirk E. Sherriff
19

20          I, Mark A. Smith, declare as follows:
21          1.     I am employed by Conterra Holdings, LLC, an Iowa limited liability company
22   d/b/a Conterra Ag Capital (“Conterra”) as its Chief Operating Officer (“COO”) and General
23   Counsel.
24          2.     I make this declaration in support of Rooster Capital IV, LLC, a Delaware Limited
25   Liability Company’s (“Rooster”) omnibus opposition to the motion of receiver Lance Miller
26   (“Receiver”) for (i) for an order authorizing engagement and compensation of Pearson Realty
27   (“Pearson”) as real estate broker (the “Broker Engagement Motion”); (ii) for an order authorizing
28   engagement and compensation of Capstone Capital Markets LLC (“Capstone”) as investment

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 1   banker (the “Banker Engagement Motion”) and (iii) for an order establishing marketing, bid, and

 2   auction procedures for broker marketed properties (the “Auction Motion”) (and collectively, the

 3   “March 10 Motions”).

 4           3.      Conterra is the Administrative Member of Rooster, and also acts as the authorized

 5   servicing agent for Rooster under a Master Loan Servicing Agreement. As servicing agent,

 6   Conterra is charged with the collection of loans owned by Rooster. As part of these duties,

 7   Conterra has access to all of the original loan documents it services, along with all servicing

 8   records for the loans.

 9           4.      My duties at Conterra include serving as custodian of records on behalf of

10   Conterra as to the loans it services. I am familiar with the manner and procedures by which the

11   records, letters and memoranda contained in Conterra’s files are prepared and maintained. Those

12   records, letters and memoranda are prepared by agents or employees of Conterra in performance

13   of their regular business duties. Those records, letters and memoranda are made either by persons

14   with knowledge of the matters they record or from information supplied by persons with such

15   knowledge. It is Conterra’s regular business practice to maintain such records, letters or

16   memoranda in the ordinary course of its business. The documents herein contained and

17   referenced are business records produced and maintained in this above-described manner. Except

18   as otherwise specifically stated in this Declaration, the facts set forth herein are based on my

19   review of the files to this account and if called as a witness I could and would be competent to

20   testify to those facts.

21           5.      My role as COO includes supervision and collection on the loan given to

22   defendants Maricopa Orchards, LLC, Copper Avenue Investments, LLC, C&A Farms, LLC,

23   ACAP Farms, LLC, Willow Avenue Investments, LLC, Lincoln Grantor Garms, LLC, Cantua

24   Orchards, LLC, and Gardon Farms, LLC (“the Rooster Borrowers”) by Conterra Agricultural

25   Capital, LLC (“CAC”), a wholly owned subsidiary of Conterra, and which was subsequently

26   assigned to Rooster, as follows.

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 1          6.      On February 2, 2023, the Rooster Borrowers signed a Note (the “Rooster Note”) in

 2   favor of CAC in the amount of $7,400,000. A copy of the Rooster Note is attached to this

 3   declaration as Exhibit A.

 4          7.       The Rooster Note is secured by certain real property (the “Real Property

 5   Collateral”) pursuant to deeds of trust recorded in Fresno County, Kings County, and Kern

 6   County (the “Rooster Deeds of Trust”). A copy of these deeds of trust are attached, respectively,

 7   as Exhibit B, Exhibit C, and Exhibit D to this declaration.

 8          8.      Upon origination, the Rooster Note and Rooster Deeds of Trust were assigned by

 9   CAC to Rooster. A copy of these assignments are attached, respectively, as Exhibit E, Exhibit F,

10   and Exhibit G to this declaration.

11          9.      Based on my review of the relevant records, the Real Property Collateral also

12   secures the debt owed by the Rooster Borrowers, and other releated entities, to the Federal

13   Agricultural Mortgage Corporation (“Farmer Mac”).

14          10.     Based on my review of the relevant records, Farmer Mac is the senior lien as to the

15   Real Property Collateral and Rooster is in second position.

16          11.     Based on my review of the relevant records, other lenders with liens junior to

17   Farmer Mac and Rooster are also secured by the Real Property Collateral.

18          12.     The Rooster Borrowers have defaulted on payments owed on, and other terms and

19   conditions of, the Rooster Note, along with other related loan documents.

20          13.     As of February 28, 2025, the current balance of the Rooster Note is $8,400,606.46,

21   constituting $7,400,000 in unpaid principal balance, $961,871.62 in interest, and $38,734.84 in

22   fees and charges.

23          14.     Rooster only discovered the filing of the March 10 Motion when it learned directly

24   from employees of Farmer Mac that the Receiver might attempt to sell the Real Property

25   Collateral.

26          15.     Rooster’s counsel then discovered the March 10 Motions on the docket.

27          16.     Neither Rooster nor Conterra was directly provided notice of the March 10

28   Motions by Receiver or by any other party.

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 1           17.        I declare under penalty of perjury under the laws of the United States that the

 2   foregoing is true and correct.

 3

 4

 5   Date: March 3, 2025_______________                          /s/ Mark A. Smith
                                                                      Mark A. Smith
 6

 7   I, Bernie Kornberg, hereby attest that I have a signed original copy, via DocuSign, of the
     signature above.
 8
                                                                      /s/ Bernie Kornberg
 9

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                                                                          DECLARATION OF MARK A.SMITH
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